Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 1 of 9 PageID #: 2465



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS


DANIEL CLATE ACKER,                 §
                                    §
                      Petitioner,   §
                                    §
              -VS-                  §       No. 4:06-cv-469
                                    §
LORIE DAVIS,                        §
Director, Texas                     §
Department of Criminal Justice,     §
Correctional Institutions Division, §        (Death Penalty Case)
                                    §
                      Respondent. § (Execution Scheduled For September 27, 2018)

__________________________________


          PETITIONER’S UNOPPOSED MOTION FOR APPOINTMENT
                           OF CO-COUNSEL


        COMES NOW Petitioner, DANIEL CLATE ACKER, by and through his

undersigned counsel, and moves this Court pursuant to 18 U.S.C. § 3599 to appoint the

Federal Defender, Capital Habeas Unit, as co-counsel. Mr. Acker shows the following as

good cause for granting this Motion:

        Mr. Acker is a prisoner under sentence of death at the Polunsky Unit of the Texas

Department of Criminal Justice. The State has scheduled his execution for September 27,

2018.

        On November 27, 2006, this Court appointed attorney A. Richard Ellis to represent

Mr. Acker and granted his motion to appear pro hac vice in this matter. (See Order, Doc.

3). This Court has the power to appoint additional counsel. Section 3599(a)(2) of Title 18
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 2 of 9 PageID #: 2466



provides that a person pursuing post-conviction relief from a death sentence imposed by a

state court “shall be entitled to the appointment of one or more attorneys” and other

resources. The Judicial Conference’s Guidelines for the Administration of the Criminal

Justice Act (“CJA Guidelines”), state, “Due to the complex, demanding, and protracted

nature of death penalty proceedings, judicial officers should consider appointing at least

two attorneys” in capital habeas cases. Guide to Judiciary Policy, Guidelines for

Administering the CJA and Related Statutes, Vol. 7A, Ch. 6, § 620.10.20 (emphasis

added).

       Present circumstances make the appointment of additional counsel for Mr. Acker

necessary and appropriate. In Christeson v. Roper, 574 U.S. ___, 135 S. Ct. 891 (2015)

(per curiam), the Supreme Court reiterated its long held view that

          “By providing indigent capital defendants with a mandatory right to
          qualified legal counsel in these [habeas] proceedings, Congress has
          recognized that federal habeas corpus has a particularly important role
          to play in promoting fundamental fairness in the imposition of the
          death penalty.”

Christeson, 135 S. Ct. at 893 (quoting McFarland v. Scott, 512 U.S. 849, 859 (1994)).

The Court’s endorsement of the role of counsel and federal habeas review in Christeson is

significant because that case reached the Court in a posture similar to this one. The

petitioner already had one opportunity for federal habeas review, and faced “a host of

procedural obstacles to having a federal court consider his habeas petition” or any further

review. Id. at 895. The Court ruled that Christeson “should have that opportunity and is

entitled to the assistance of substitute counsel in doing so.” Id. at 896.



                                               2
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 3 of 9 PageID #: 2467



       Congress specified that federal habeas counsel must be able to serve through

          all available post-conviction process, together with applications for
          stays of execution and other appropriate motions and procedures, and
          shall also represent the defendant in such competency proceedings and
          proceedings for executive or other clemency as may be available to
          the defendant. (18 U.S.C. § 3599(e)).

       18 U.S.C. § 3599 has also been held to encompass representation in state clemency

proceedings. Harbison v. Bell, 556 U.S. 180, 194 (2009) (even where all available claims

are defaulted, information may be utilized in application to state officials for clemency).

        Due to unusual circumstances outside the control of Mr. Acker and his counsel,

Mr. Ellis is unable to meet the requirements of the statute without the assistance of co-

counsel. Since the setting of Mr. Acker’s execution date, Mr. Ellis has had the following

duties in capital cases: he has filed a motion to remand and a reply brief in the Fifth

Circuit in Lucio v. Davis (No. 16-70027); filed a petition for re-hearing in the Fifth

Circuit in Haynes v. Davis (No. 15-70038); partially drafted lengthy objections in a

capital case in the Eastern District of California; filed supplemental briefing in the Fifth

Circuit in Mamou v. Davis (No. 17-70001); filed petitions for certiorari in the Fifth

Circuit cases of Barbee v. Davis (No. 15-70022) and King v. Davis (16-70018) in the U.S.

Supreme Court; and drafted portions of a lengthy reply brief in a capital habeas matter in

the Supreme Court of California.

       From now until Mr. Acker’s execution date on September 27, in the following

capital cases, Mr. Ellis must: file a lengthy reply brief in the California Supreme Court

habeas matter of In re Perez (Ca. Sup. Ct. No S241863) by July 27, 2018; file a petition


                                              3
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 4 of 9 PageID #: 2468



for certiorari in Coble v. Davis (5th Cir. No. 15-70037) by August 13, 2018; file lengthy

objections to the magistrate’s report, which will be about 200 pages, in Cornwell v.

Warden in the Eastern District of California by August 14, 2018; file a petition for

certiorari in the Supreme Court in People v. Perez (CA. Sup. Ct. No. S104144) by August

14, 2018; file a petition for certiorari in Haynes v. Davis (Fifth Cir. No. 15-70038) by

September 16, 2018; and file a lengthy reply brief in Atkins v. Filson (No. 2:02-cv-1348

(D. Nev.)) by September 7, 2018, for which no extensions of time are permissible. Mr.

Ellis is sole counsel for the petitioner/appellant in all of these capital cases except for

Lucio.

         In May 2017, the Court of Appeals for the Fifth Circuit approved the creation of

two Capital Habeas Units, one in Federal Defender Office for the Northern District of

Texas, and the other in the Western District’s Austin Defender Office. The Fifth Circuit

provided that “[t]hese units will represent capital habeas petitioners in federal courts

state-wide, including the Southern and Eastern Districts of Texas.” Letter from Kyle M.

Boudreau, Assist. Cir. Exec., to Cait T. Clarke, Chief, Defender Services Office, dated

May 17, 2017.

         The Austin CHU opened in November 2018. At present the Austin CHU is staffed

by two attorneys with capital habeas experience. The CHU is prepared to assist Mr. Ellis

with investigation and other tasks necessary to ensuring that Mr. Acker receives the

representation in clemency proceedings that Congress envisioned when it enacted §

3599(e). See Harbison v. Bell, supra. The funding for any investigative or expert services



                                             4
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 5 of 9 PageID #: 2469



will come from the Federal Defender’s budget and will require neither the administrative

nor fiscal resources of this Court.

       The appointment sought here has become fairly commonplace. Every court

presented with either a substitution or appointment motion for this CHU has appointed

them as co-counsel. Indeed, the Dallas CHU has been appointed co-counsel in multiple

instances in which the initial federal habeas proceedings have concluded. See, e.g., Bible

v. Director, No. 4:13-cv-00200 (S.D. Tex. May 3, 2018); Order, ECF No. 29, Matthews v.

Davis, 4:12-cv-01939 (S.D. Tex. April 17, 2018) (order substituting the CHU as co-

counsel); Order, ECF No. 82, Norman v. Davis, 6:12-cv-00054 (S.D. Tex. Dec. 13, 2017)

(same); Order, ECF No. 107, Rayford v. Davis, 3:06-cv-0978 (N.D. Tex. Nov. 10, 2017)

(order granting motion to appoint CHU as co-counsel).

       Appointment of the CHU, in and of itself, will cause no delays in the proceedings.

Undersigned counsel will not request a stay of execution based solely on the appointment

of the CHU as co-counsel.

       Undersigned counsel has conferred via e-mail with counsel of record for

Respondent, Mr. Eric White of the Office of the Attorney General of the State of Texas,

who has indicated that he is unopposed to this motion.

              FOR THESE REASONS, Petitioner respectfully requests that this Court

appoint the Federal Public Defender, Capital Habeas Unit as co-counsel for Mr. Acker

pursuant to 18 U.S.C. § 3599.




                                            5
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 6 of 9 PageID #: 2470



                                   Respectfully submitted,




                                   By: s/ A. Richard Ellis
                                   ________________________
                                   A. RICHARD ELLIS
                                   Attorney at Law
                                   Texas Bar No. 06560400
                                   75 Magee Ave.
                                   Mill Valley, CA 94941
                                   (415) 389-6771

                                   MAUREEN SCOTT FRANCO
                                   Federal Public Defender
                                   /s/ Tivon Schardl
                                   TIVON SCHARDL
                                   Supervisory Asst. Federal Public Defender
                                   TIMOTHY P. GUMKOWSKI
                                   (Member, E.D. Tex. Bar)
                                   Assistant Public Defender
                                   Capital Habeas Unit
                                   504 Lavaca Street, Ste. 960
                                   Austin, Texas 78701
                                   (512) 916-5025
                                   (512) 916-5035 (FAX)
                                   Bar Number: Florida 73016
                                   Attorneys for Petitioner/Appellant




                                     6
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 7 of 9 PageID #: 2471



                        CERTIFICATE OF CONFERENCE

        Undersigned counsel verifies that on July 17, 2018, he conferred via e-mail with

counsel of record for Respondent, Mr. Eric White of the Office of the Attorney General

of the State of Texas who stated that he is unopposed to this motion for appointment of

co-counsel.

                              /s/ A. Richard Ellis
                              ____________________________
                              A. RICHARD ELLIS
                              COUNSEL FOR PETITIONER




                                           7
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 8 of 9 PageID #: 2472



                             CERTIFICATE OF SERVICE

       I hereby certify that on the day of July 17, 2018, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

Mr. Eric White
Texas Attorney General’s Office
P.O. Box 12548, Capitol Station
Austin, TX 78711


                                           /s/ A. Richard Ellis
                                           _____________________________________
                                           A. Richard Ellis
                                           Counsel for Daniel Clate Acker




                                              8
Case 4:06-cv-00469-MAC Document 102 Filed 07/17/18 Page 9 of 9 PageID #: 2473




                        UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
 DANIEL CLATE ACKER,                       §
          Petitioner,
                                           §

                                           §
 V.                                            CAUSE NO. 4:06-cv-00469
                                           §

                                           §

 LORIE DAVIS,                              §
         Respondent.



                                       ORDER

      On this date came on to be considered Defendant's Motion for appointment of co-

counsel, and the Court, after considering same, is of the opinion that said motion should

be GRANTED. Accordingly, it is


      ORDERED that




      Signed this _________________ day of _________________________, 2018.




                                         U. S. DISTRICT JUDGE




                                           1
